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Reply to Newark Office [X]



Of Counsel
Douglas Mitchell, Esq.
Linda Childs, Esq.
                                                         March 10, 2021

SENT VIA ECF
Honorable Analisa Torres
U.S. Southern District of NY
500 Pearl Street
New York, NY 10007

                             Re:   USA v Michael Thomas, et al.
                                   Docket No.: 1:19-cr-00830
                                   Request for Emergency Out of State Travel

Your Honor,
       This firm represents Defendant, Michael Thomas, in the above-captioned matter. We are
seeking the courts permission for Michael Thomas to take an emergency trip to the State of
Georgia to tend to his sick father.
          Kristen McKeown, his pre-trial services officer, does not oppose his emergency travel.


Respectfully yours
/s/ Montell Figgins
Montell Figgins, Esq.
Attorney for Defendant Michael Thomas
cc:       Nicolas Roos, Esq., Counsel for Plaintiff
          Rebekah Donaleski, Esq., Counsel for Plaintiff
          Jessica Lonergan, Esq., Counsel for Plaintiff
          Jason Erroy Foy, Esq, Counsel for Defendant Noel
